     Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 1 of 24 Page ID #:65



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2    BRANDON D. FOX
     Assistant United States Attorney
3    Chief, Criminal Division
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8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA

10                          UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 20-00151-ODW-RAO

13             Plaintiff,                    OPPOSITION TO APPLICATION FOR
                                             REVIEW/RECONSIDERATION OF
14                    v.                     DETENTION ORDER; DECLARATION OF
                                             SAMUEL DIAZ AND ATTACHMENTS
15   JESSIE DEBORA,                          THERETO

16             Defendant.                    Hearing Date: May 8, 2020
                                             Hearing Time: 10:00 a.m.
17                                           Judge:        Hon. Rozella A.
                                                           Oliver
18

19        Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Samuel J. Diaz,
22   hereby files its Opposition to Defendant Jessie Debora’s Application
23   for Review/Reconsideration of Detention Order.         (Dkt. 21).
24   //
25   //
26   //
27

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     Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 2 of 24 Page ID #:66



1         This Opposition is based upon the attached memorandum of points

2    and authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4    Dated: May 7, 2020                   Respectfully submitted,

5                                         NICOLA T. HANNA
                                          United States Attorney
6
                                          BRANDON D. FOX
7                                         Assistant United States Attorney
                                          Chief, Criminal Division
8

9                                               /s/
                                          SAMUEL J. DIAZ
10                                        Assistant United States Attorney

11                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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     Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 3 of 24 Page ID #:67



1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.   INTRODUCTION
3         Defendant Jessie Debora (“defendant”) should remain detained

4    pending trial because he is a danger to the community and poses a

5    high risk of flight.     Given that defendant is charged with a drug

6    felony with a maximum sentence of imprisonment well in excess of ten

7    years, a statutory presumption applies “that no condition or

8    combination of conditions will reasonably assure the appearance of

9    the person as require and the safety of . . . the community.”           18

10   U.S.C. § 3142(e).    The record in this case does not rebut that

11   presumption; it supports it.

12        Defendant poses a substantial danger to the community and is a

13   flight risk.   Far from just dabbling in drugs, post-arrest searches

14   of defendant’s vehicle and residence resulted in seizures of a wide

15   array of dangerous drugs, including fentanyl, cocaine,

16   methamphetamine and heroin.      The majority of these drugs were found

17   in the home defendant shared with minor children.

18        Apart from the danger he poses, defendant is also a flight risk.

19   First, he is facing a substantial prison sentence for the first time

20   in his life, providing ample incentive to flee.         Second, he has deep

21   ties to Mexico.     He resided there for over a decade before returning

22   to the United States just last year, and has an infant daughter,

23   brother, and friends in Mexico.

24        And while defendant’s family has indicated a willingness to post

25   a bond, the bond does not reduce the danger that defendant poses.

26   Nor does it ameliorate the flight risk, given the lengthy prison term

27   he faces and that defendant has previously abused his family’s trust.

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     Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 4 of 24 Page ID #:68



1          For these reasons, the government respectfully requests that the

2    Court deny defendant’s application for review/reconsideration of

3    detention order.

4    II.   FACTUAL AND PROCEDURAL BACKGROUND
5          On March 4, 2020, the Court ordered defendant detained based on

6    danger.    (Dkt. 5).   Specifically, the Court cited “testimony

7    proffered by DEA agent in court regarding drugs found in search of

8    defendant's home where minor children also reside —bricks of heroin,

9    one bag of pills stamped with M30 (between approx. 5,000 and 8,000),

10   and bags of suspected cocaine and fentanyl.”         (Id. at 3).

11         Defendant was subsequently indicted for two counts of violating

12   21 U.S.C. § 841(a)(1) for knowingly and intentionally distributing

13   fentanyl.    On April 24, 2020, defendant filed an application for

14   review/reconsideration of detention order.        (Dkt. 21).    A bond

15   hearing was held on May 1, 2020, and continued to May 8, 2020.

16   III. ANALYSIS
17         A.    This Is A Presumption Case
18         As a threshold matter, the government takes this opportunity to

19   correct the record:     a statutory presumption does indeed apply here

20   as to both danger and flight risk.

21         Under 18 U.S.C. § 3142(e)(3)(A) “if there is probable cause to

22   believe that [the defendant] has committed an offense for which a

23   maximum term of imprisonment of ten years or more is prescribed in

24   certain statutes, including the Controlled Substances Act, 21 U.S.C.

25   § 801 et seq., at issue here, a rebuttable presumption arises that

26   ‘no condition or combination of conditions will reasonably assure the

27   appearance of the person as required and the safety of the

28   community.’”    United States v. Kouyoumdjian, 601 F. Supp. 1506, 1508

                                            2
     Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 5 of 24 Page ID #:69



1    (C.D. Cal. 1985) (emphasis in original); see also United States v.

2    Parodi, No. CR-08-0083 PJH, 2008 WL 683421, at *1 (N.D. Cal. Mar. 7,

3    2008) (“A rebuttable presumption of both dangerousness and risk of

4    flight exists when the defendant is charged with a drug felony that

5    carries a maximum term of imprisonment of ten years or more.”).

6         Defendant is charged with two counts of violating 21 U.S.C.

7    § 841(a)(1) for knowingly and intentionally distributing fentanyl,

8    including a sufficient quantity during the February 18, 2020 fentanyl

9    sale for the grand jury to find probable cause that

10   § 841(b)(1)(B)(vi) applies with respect to count two.          (Dkt. 12

11   (“indictment”)).    A violation of 21 U.S.C. §§ 841 (a)(1),

12   (b)(1)(B)(vi), as charged in the indictment, carries a maximum term

13   of imprisonment of forty years, well in excess of the ten year

14   maximum term of imprisonment required to trigger the presumption

15   under 18 U.S.C. § 3142(e)(3)(A).       Even the February 11, 2020 fentanyl

16   transaction, charged in count one without a drug quantity, carries a

17   twenty year statutory maximum sentence under 21 U.S.C. §§ 841(a)(1),

18   (b)(1)(C).    The presumption therefore applies.

19        B.     Defendant Poses A Serious Danger To The Community
20        Even if no presumption applied, there is clear and convincing

21   evidence in the record that defendant poses a serious danger to the

22   community.    In addition to the drugs charged in the indictment,

23   searches of defendant’s vehicle and home resulted in the seizure of a

24   wide assortment of dangerous drugs, as confirmed by laboratory tests

25   after indictment.    In his vehicle, agents found:

26        •    199.9 grams in fentanyl tables (Debora000155);
27        •    2.26 grams of heroin (Debora000156).
28   In defendant’s home, agents found:

                                            3
     Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 6 of 24 Page ID #:70



1         •   41.4 grams of cocaine (Debora000166);
2         •   34 grams in fentanyl tablets (Debora000157);
3         •   0.389 grams in fentanyl tablets (Debora000158);
4         •   455.2 grams in fentanyl tablets (Debora000159);
5         •   993.7 grams in fentanyl tablets (Debora000160);
6         •   1000.4 grams of heroin (Debora000161);
7         •   1002.9 grams in fentanyl powder (Debora000162);
8         •   197.1 grams of nearly pure methamphetamine (Debora000163);
9         •   0.91 grams of tramadol with a detectable amount of fentanyl
10            (Debora000164);

11        •   1.93 gram of heroin (Debora000165).
12   (Declaration of Samuel Diaz, Debora000155-166). 1        The variety and

13   amount of drugs defendant possessed underscore his dangerousness.

14   Worse still, the vast majority of the drugs were found in the home

15   that defendant shared with minor children.        Clearly defendant is not

16   someone who engaged in drug trafficking on a whim or

17   opportunistically.    This was defendant’s true profession.

18        The severity of defendant’s conduct, and the prolific, committed

19   nature of his drug trafficking is confirmed by the fact that, based

20   on the total converted drug weight, he is facing a base offense level

21   of 34 and a corresponding guidelines range of 151-188 months—even

22   despite the fact that he has no prior criminal history.

23        The danger defendant poses is not ameliorated by the bond offers

24   from his family or by his desire to keep his union job.          Defendant

25   had the same family support and union job when he engaged in this

26

27
          1 This list of drugs is not exhaustive, as the government is
28   still awaiting lab results for two additional substances recovered
     from defendant’s home.
                                        4
     Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 7 of 24 Page ID #:71



1    criminal behavior in the first place.        Defendant has failed to

2    provide any evidence that he no longer poses a threat to the

3    community and has utterly failed to rebut the presumption that no

4    condition or set of conditions will “assure the safety” of the

5    community.

6         C.    Defendant Presents A High Risk Of Flight
7         There is also a presumption that “no condition or set of

8    conditions will reasonably assure” defendant’s appearance.           18 U.S.C.

9    § 3142(e).   Given defendant’s exposure to a substantial prison

10   sentence and his deep ties to Mexico, the presumption is well

11   warranted here.

12        First, the severity of the potential punishment augments the

13   risk of flight in this case.      See United States v. Townsend, 897 F.2d

14   989, 995 (9th Cir. 1990) (explaining that the “penalties possible

15   under the present indictment” provided an “incentive [for the

16   defendant] to consider flight”).       Defendant is facing a five-year

17   mandatory minimum sentence and a base offense level of 34.           These

18   penalties provide ample incentive to flee.

19        So do defendant’s deep ties to Mexico.         Defendant did not merely

20   visit Mexico, he resided there for a decade prior to his return to

21   the United States in January 2019.         As such, he is familiar with life

22   in Mexico and plainly able to assimilate there.         Mexico is also the

23   home of defendant’s infant daughter, brother, and several friends.

24   Although defendant now seeks to downplay the relationship with his

25   daughter, he previously reported contacting her regularly.           That his

26   mother, grandparents, and some siblings reside in California cannot

27   obscure defendant’s close familial ties in Mexico.          In addition to

28   his daughter, defendant’s brother resides in Mexico as do several

                                            5
     Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 8 of 24 Page ID #:72



1    friends.   Moreover, the fact that defendant recently lived a decade

2    apart from his mother, grandparents, and US-based siblings suggests

3    that he could comfortably do so again.

4          As to defendant’s argument that he would not flee and expose his

5    family to substantial bond obligations, it would not be the first

6    time defendant would betray his family’s trust.         Indeed, he kept a

7    wide array of dangerous drugs in his mother’s home, around children,

8    without regard for how his actions could adversely affect his family.

9    Moreover, the potential financial loss to others for loss of a bond

10   would be a small price to pay for the opportunity to live in a

11   country he is well-familiar with alongside his family while avoiding

12   the substantial prison sentence he faces.

13         For these reasons, defendant presents a high risk of flight.

14   IV.   CONCLUSION
15         For the foregoing reasons, and the facts and recommendation of

16   detention in the pretrial services report previously submitted by the

17   pretrial services office, the government respectfully requests that

18   this Court deny defendant’s application for review/reconsideration of

19   detention order.

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     Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 9 of 24 Page ID #:73



 1
                           DECLARATION OF SAMUEL J. DIAZ
 2
          I, Samuel J. Diaz, declare as follows:
 3
          1.    I am an Assistant United States Attorney in the United
 4
     States Attorney’s Office for the Central District of California, and
 5
     am assigned to the matter of United States v. Jessie Debora, No. CR
 6
     20-00151-ODW.    I make this declaration in connection with the
 7
     government’s opposition to application for review/reconsideration of
 8
     detention order.
 9
          2.    Attached as Debora000153-166 are true and correct copies
10
     of laboratory tests of drugs recovered from defendant Jessie
11
     Debora’s sale of fentanyl on February 11, 2020, February 18, 2020,
12
     and subsequent searches of defendant’s vehicle and home.           The tests
13
     have been produced to the defendant.
14
          I declare under penalty of perjury under the laws of the United
15
     States of America that the foregoing is true and correct and that
16
     this declaration is executed at Los Angeles, California, on May 7,
17
     2020.
18
          I declare under penalty of perjury that the foregoing is true
19
     and correct to the best of my knowledge and belief.
20

21   Date: May 7, 2020                        /s/ __________________________
                                             Samuel J. Diaz
22                                           Assistant United States Attorney
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                    Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 10 of 24 Page ID #:74

                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
       1.01                            N-Phenyl-N-[1-(2-phenylethyl)                                     0.552 g ± 0.002 g                             ----                            ----
                                   -4-piperidinyl]propanamide (Fentanyl)
       1.01                                         Dipyrone                                                                                           ----                            ----
       1.01                                     Acetaminophen                                                                                          ----                            ----
       1.02                            N-Phenyl-N-[1-(2-phenylethyl)                                     1.965 g ± 0.002 g                             ----                            ----
                                   -4-piperidinyl]propanamide (Fentanyl)
       1.02                                          Xylazine                                                                                          ----                            ----

Remarks:
Exhibit 1.01: The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded
uncertainty estimate at the 95% level of confidence.

Exhibit 1.01: Total dosage unit count = 5 tablets (net); 1.7 tablets (reserve).

Exhibit 1.02: The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded
uncertainty estimate at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 02/14/2020                                        Gross Weight: 338.4 g                                                   Date Received by Examiner: 03/05/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
1.01                                  5                               Plastic Bag                                     Tablet                                               0.192 g
1.02                                  1                               Plastic Bag                                    Powder                                                1.900 g
Remarks:

Exhibit Analysis:
Sampling:
Exhibit 1.01: Fentanyl confirmed in 5 units tested of 5 units received. A composite was formed from 5 units for further testing. Dipyrone
and acetaminophen also confirmed in the composite.

Exhibit 1.02: A composite was formed from 1 unit for testing of 1 unit received. Fentanyl and xylazine confirmed in the composite.

Exhibit           Summary of Test(s)
1.01               Gas Chromatography, Gas Chromatography/Mass Spectrometry, Liquid Chromatography/Mass Spectrometry
1.02               Gas Chromatography/Mass Spectrometry, Infrared Spectroscopy, Marquis Color Test




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Alexandra Ambriz, Senior Forensic Chemist                                                                                                    Date: 03/17/2020
Approved By: /S/ Annecia T. Martin, Senior Forensic Chemist                                                                                                   Date: 03/17/2020

DEA Form 113 August 2019                                                                                                                                                 Debora000153         Page 1 of 1
                    Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 11 of 24 Page ID #:75

                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number:
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
        2                            N-Phenyl-N-[1-(2-phenylethyl)                                      53.786 g ± 0.002 g                          7% ± 1%                      3.765 g ± 0.780 g
                             -4-piperidinyl]propanamide (Fentanyl) (calc. as
                                              Hydrochloride)
        2                                       Acetaminophen                                                                                          ----                            ----
        2                                           Dipyrone                                                                                           ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Purity determined from testing the composite; the purity and amount pure substance values are representative of the entire exhibit. All
uncertainty values represent expanded uncertainty estimates at the 95% level of confidence.

Total dosage unit count = 479 tablets (net); 473 tablets (reserve); substance concentration: 8.8 mg/ tablet.

Exhibit Details:
Date Accepted by Laboratory: 02/24/2020                                        Gross Weight: 89.3 g                                                    Date Received by Examiner: 03/05/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
2                                     1                          Ziplock Plastic Bag                                  Tablet                                              53.061 g
Remarks:

Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Fentanyl, Acetaminophen, and Dipyrone confirmed in the composite.

Exhibit           Summary of Test(s)
2                  Gas Chromatography/Mass Spectrometry, Liquid Chromatography/Mass Spectrometry, Marquis Color Test
Exhibit           Purity Test(s)
2                 DEA127/Gas Chromatography




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Alexandra Ambriz, Senior Forensic Chemist                                                                                                    Date: 03/16/2020
Approved By: /S/ Annecia T. Martin, Senior Forensic Chemist                                                                                                   Date: 03/17/2020

DEA Form 113 August 2019                                                                                                                                                 Debora000154          Page 1 of 1
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                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number:
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
        3                              N-Phenyl-N-[1-(2-phenylethyl)                                      199.9 g ± 0.2 g                              ----                            ----
                                   -4-piperidinyl]propanamide (Fentanyl)
        3                                       Acetaminophen                                                                                          ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Total dosage unit count = 1860 tablets (net); 1810 (reserve).

Exhibit Details:
Date Accepted by Laboratory: 03/11/2020                                        Gross Weight: 247.1 g                                                   Date Received by Examiner: 03/17/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
3                                     2                          Ziplock Plastic Bag                                  Tablet                                               194.5 g
Remarks:
5.2 gram(s) removed for special program.


Exhibit Analysis:
Sampling:
Fentanyl confirmed in 2 units tested of 2 units received. A composite was formed from 2 units for further testing. Acetaminophen also
confirmed in the composite.

Exhibit           Summary of Test(s)
3                  Gas Chromatography, Gas Chromatography/Mass Spectrometry




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Trevor R. Equitz, Senior Forensic Chemist                                                                                                    Date: 03/26/2020
Approved By: /S/ Michael M. Brousseau, Senior Forensic Chemist                                                                                                Date: 03/26/2020

DEA Form 113 August 2019                                                                                                                                                 Debora000155         Page 1 of 1
                    Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 13 of 24 Page ID #:77

                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number:
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
        4                                             Heroin                                              2.26 g ± 0.01 g                              ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 32.2 g                                                    Date Received by Examiner: 03/25/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
4                                     1                          Ziplock Plastic Bag                                 Powder                                                 2.17 g
Remarks:

Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Heroin confirmed in the composite.

Exhibit           Summary of Test(s)
4                  Gas Chromatography/Mass Spectrometry, Marquis Color Test




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Shana A. Middleton, Senior Forensic Chemist                                                                                                  Date: 03/26/2020
Approved By: /S/ Melissa L. Burns, Senior Forensic Chemist                                                                                                    Date: 03/26/2020

DEA Form 113 August 2019                                                                                                                                                 Debora000156         Page 1 of 1
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                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number:
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
        6                              N-Phenyl-N-[1-(2-phenylethyl)                                      34.00 g ± 0.01 g                             ----                            ----
                                   -4-piperidinyl]propanamide (Fentanyl)

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Total dosage unit count = 315 tablets (net); 314 (reserve); substance concentration.

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 115.9 g                                                   Date Received by Examiner: 03/17/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
6                                     1                               Plastic Bag                                     Tablet                                               33.92 g
Remarks:

Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Fentanyl confirmed in the composite.

Exhibit           Summary of Test(s)
6                  Gas Chromatography, Gas Chromatography/Mass Spectrometry




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Trevor R. Equitz, Senior Forensic Chemist                                                                                                    Date: 03/27/2020
Approved By: /S/ Michael M. Brousseau, Senior Forensic Chemist                                                                                                Date: 03/27/2020

DEA Form 113 August 2019                                                                                                                                                 Debora000157         Page 1 of 1
                    Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 15 of 24 Page ID #:79

                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
        7                              N-Phenyl-N-[1-(2-phenylethyl)                                     0.389 g ± 0.002 g                             ----                            ----
                                   -4-piperidinyl]propanamide (Fentanyl)
        7                                       Acetaminophen                                                                                          ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Total dosage unit count = 4 tablets (net); 2.4 (reserve).

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 59.0 g                                                    Date Received by Examiner: 03/17/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
7                                     4                               Plastic Bag                                     Tablet                                               0.235 g
Remarks:

Exhibit Analysis:
Sampling:
Fentanyl confirmed in 2 units tested of 4 units received. A composite was formed from 4 units for further testing. Acetaminophen also
confirmed in the composite.

Exhibit           Summary of Test(s)
7                  Gas Chromatography, Gas Chromatography/Mass Spectrometry




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Trevor R. Equitz, Senior Forensic Chemist                                                                                                    Date: 03/27/2020
Approved By: /S/ Melissa L. Burns, Senior Forensic Chemist                                                                                                    Date: 03/27/2020

DEA Form 113 August 2019                                                                                                                                                 Debora000158         Page 1 of 1
                    Case 2:20-cr-00151-ODW Document 29 Filed 05/07/20 Page 16 of 24 Page ID #:80

                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
        8                              N-Phenyl-N-[1-(2-phenylethyl)                                      455.2 g ± 0.2 g                              ----                            ----
                                   -4-piperidinyl]propanamide (Fentanyl)
        8                                       Acetaminophen                                                                                          ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Total dosage unit count = 4335 tablets (net); 4286 tablets (reserve).

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 500.7 g                                                   Date Received by Examiner: 03/17/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
8                                     1                          Ziplock Plastic Bag                                  Tablet                                               449.9 g
Remarks:
5.3 gram(s) removed for special program.


Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Fentanyl and Acetaminophen confirmed in the composite.

Exhibit           Summary of Test(s)
8                  Gas Chromatography, Gas Chromatography/Mass Spectrometry




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Trevor R. Equitz, Senior Forensic Chemist                                                                                                    Date: 03/24/2020
Approved By: /S/ Annecia T. Martin, Senior Forensic Chemist                                                                                                   Date: 03/24/2020

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                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number:
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
        9                              N-Phenyl-N-[1-(2-phenylethyl)                                      993.7 g ± 0.2 g                              ----                            ----
                                   -4-piperidinyl]propanamide (Fentanyl)
        9                                            Xylazine                                                                                          ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 1071 g                                                    Date Received by Examiner: 03/25/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
9                                     1                       Multilayered Packaging                                 Powder                                                989.8 g
Remarks:
3.0 gram(s) removed for special program.


Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Fentanyl and Xylazine confirmed in the composite.

Exhibit           Summary of Test(s)
9                  Gas Chromatography/Mass Spectrometry, Marquis Color Test




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Shana A. Middleton, Senior Forensic Chemist                                                                                                  Date: 03/31/2020
Approved By: /S/ Daniel M. Roesch, Senior Forensic Chemist                                                                                                    Date: 03/31/2020

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                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number:
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
       10                                             Heroin                                              1000.4 g ± 0.2 g                             ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 1070 g                                                    Date Received by Examiner: 03/23/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
10                                    1                        Multilayered Packaging                                Powder                                               1000.0 g
Remarks:

Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Heroin confirmed in the composite.

Exhibit           Summary of Test(s)
10                 Gas Chromatography/Mass Spectrometry, Marquis Color Test




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Shana A. Middleton, Senior Forensic Chemist                                                                                                  Date: 03/26/2020
Approved By: /S/ Michael M. Brousseau, Senior Forensic Chemist                                                                                                Date: 03/26/2020

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                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number:
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
       11                              N-Phenyl-N-[1-(2-phenylethyl)                                      1002.9 g ± 0.2 g                             ----                            ----
                                   -4-piperidinyl]propanamide (Fentanyl)

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 1167 g                                                    Date Received by Examiner: 03/23/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
11                                    1                       Multilayered Packaging                                 Powder                                                999.8 g
Remarks:
3.0 gram(s) removed for special program.


Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Fentanyl confirmed in the composite.

Exhibit           Summary of Test(s)
11                 Gas Chromatography/Mass Spectrometry, Marquis Color Test




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Shana A. Middleton, Senior Forensic Chemist                                                                                                  Date: 03/26/2020
Approved By: /S/ Annecia T. Martin, Senior Forensic Chemist                                                                                                   Date: 03/26/2020

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                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number:
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity              Amount Pure Substance
       12                            Methamphetamine Hydrochloride                                        197.1 g ± 0.2 g                          99% ± 6%                     195.1 g ± 11.9 g

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Purity determined from testing the composite; the purity and amount pure substance values are representative of the entire exhibit. All
uncertainty values represent expanded uncertainty estimates at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 251.8 g                                                   Date Received by Examiner: 03/16/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                             Reserve Wt.
12                                    1                       Multilayered Packaging                               Crystalline                                            196.5 g
Remarks:

Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Methamphetamine confirmed in the composite. Salt form determined
from testing the composite.

Exhibit           Summary of Test(s)
12                 Gas Chromatography/Mass Spectrometry, Infrared Spectroscopy
Exhibit           Purity Test(s)
12                DEA 440H /Nuclear Magnetic Resonance Spectroscopy




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Christine M. Mateo, Senior Forensic Chemist                                                                                                 Date: 03/17/2020
Approved By: /S/ Daniel M. Roesch, Senior Forensic Chemist                                                                                                   Date: 03/20/2020

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                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
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255 East Temple Street, 20th Floor                                                                                      LIMS Number
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
       15                                           Tramadol                                             0.910 g ± 0.002 g                             ----                            ----
       15                        4-Anilino-N-phenethylpiperidine (ANPP)                                                                                ----                            ----
       15                              N-Phenyl-N-[1-(2-phenylethyl)                                                                                   ----                            ----
                                   -4-piperidinyl]propanamide (Fentanyl)
       15                                           Lidocaine                                                                                          ----                            ----
       15                                         Methorphan                                                                                           ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 44.9 g                                                    Date Received by Examiner: 03/25/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
15                                    1                               Plastic Bag                                    Powder                                                0.813 g
Remarks:

Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Tramadol, 4-Anilino-N-phenethylpiperidine (ANPP), N-Phenyl-N-[1-
(2-phenylethyl)-4-piperidinyl] propanamide (Fentanyl), Lidocaine, and Methorphan confirmed in the composite.

Exhibit           Summary of Test(s)
15                 Gas Chromatography, Gas Chromatography/Mass Spectrometry, Marquis Color Test




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Shana A. Middleton, Senior Forensic Chemist                                                                                                  Date: 03/26/2020
Approved By: /S/ Melissa L. Burns, Senior Forensic Chemist                                                                                                    Date: 03/26/2020

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                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number:
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
       16                                             Heroin                                              1.93 g ± 0.01 g                              ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 47.7 g                                                    Date Received by Examiner: 03/25/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
16                                    1                          Ziplock Plastic Bag                                 Powder                                                 1.83 g
Remarks:

Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Heroin confirmed in the composite.

Exhibit           Summary of Test(s)
16                 Gas Chromatography/Mass Spectrometry, Marquis Color Test




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Shana A. Middleton, Senior Forensic Chemist                                                                                                  Date: 03/26/2020
Approved By: /S/ Michael M. Brousseau, Senior Forensic Chemist                                                                                                Date: 03/26/2020

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                              U.S. Department of Justice                                                                                           Southwest Laboratory
                              Drug Enforcement Administration                                                                                      Vista, CA



                                                                                                                                                                 Chemical Analysis Report
Los Angeles Division Office                                                                                             Case Number:
255 East Temple Street, 20th Floor                                                                                      LIMS Number
Los Angeles, CA 90012


Observations, Results and Conclusions:

     Exhibit                                Substance(s) Identified                                         Net Weight                        Substance Purity               Amount Pure Substance
        5                                   Cocaine Hydrochloride                                          41.4 g ± 0.2 g                              ----                            ----
        5                                          Phenacetin                                                                                          ----                            ----
        5                             Phenyltetrahydroimidazothiazole                                                                                  ----                            ----

Remarks:
The net weight was determined by direct weighing of all unit(s). The net weight uncertainty value represents an expanded uncertainty
estimate at the 95% level of confidence.

Exhibit Details:
Date Accepted by Laboratory: 03/06/2020                                        Gross Weight: 76.1 g                                                    Date Received by Examiner: 03/25/2020

Exhibit                         No. Units                            Pkg. (Inner)                                      Form                                              Reserve Wt.
5                                     1                          Ziplock Plastic Bag                                 Powder                                                 40.9 g
Remarks:

Exhibit Analysis:
Sampling:
A composite was formed from 1 unit for testing of 1 unit received. Cocaine, phenacetin and phenyltetrahydroimidazothiazole confirmed in
the composite. Salt form determined from testing the composite.

Exhibit           Summary of Test(s)
5                  Gas Chromatography/Mass Spectrometry, Infrared Spectroscopy




The terminology used in the preparation of this report is consistent with the current Department of Justice Uniform Language for Testimony and Reports for
General Forensic Chemistry and Seized Drug Examinations.

Analyzed By: /S/ Monica S. Price, Senior Forensic Chemist                                                                                                     Date: 04/06/2020
Approved By: /S/ Michael M. Brousseau, Senior Forensic Chemist                                                                                                Date: 04/07/2020

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 1                                 CERTIFICATE OF SERVICE

 2         I, STEPHANIE SWISHER, declare:

 3         That I am a citizen of the United States and a resident of or employed in

 4   Los Angeles County, California; that my business address is the Office of United

 5   States Attorney, 312 North Spring Street, Los Angeles, California 90012; that I am

 6   over the age of 18; and that I am not a party to the above-titled action;

 7         That I am employed by the United States Attorney for the Central District of

 8   California, who is a member of the Bar of the United States District Court for the

 9   Central District of California, at whose direction the service by mail described

10   in this Certificate was made; that on 5/7/2020, I deposited in the United States

11   mail at the United States Courthouse in the above-titled action, in an envelope

12   bearing the requisite postage, a copy of:
     OPPOSITION TO APPLICATION FOR REVIEW/RECONSIDERATION OF DETENTION
13   ORDER; DECLARATION OF SAMUEL DIAZ AND ATTACHMENTS THERETO
     Service was:
14
      ☐ Placed in a closed envelope for          ☐ Placed in a sealed envelope for
15      collection and inter-office                collection and mailing via United
        delivery, addressed as follows:            States mail, addressed as follows:
16
      ☐ By hand delivery, addressed as           ☐ By facsimile, as follows:
17       follows:

18     ☒ By Email, as follows:                   ☐ By Federal Express, as follows:

19         Victor Sherman
20         Law Offices of Victor Sherman
           11400 West Olympic Boulevard Suite 1500
21         Los Angeles, CA 90064
           Email: victor@victorsherman.law
22
           at his/her last known address, at which place there is a delivery service by
23   United States mail.
           This Certificate is executed on 5/7/2020, at Los Angeles, California. I
24   certify under penalty of perjury that the foregoing is true and correct.

25
                                                             /S/
26                                               Stephanie Swisher
                                                 Legal Assistant
27

28
